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                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                           SOUTHERN DIVISION AT PIKEVILLE
                          CIVIL ACTION NO. 7:17-cv-25-ART-EBA

ERIC C. CONN, CONN LAW, P.S.C.                                                    PLAINTIFFS

v.

UNITED STATES FIRE INSURANCE
COMPANY, THRU CRUM & FORESTER; and
PROTEXTURE LAWYERS/
AMERINST PROFESSIONAL SERVICES, LTD.                                            DEFENDANTS


             STIPULATION OF DISMISSAL OF CERTAIN DEFENDANTS
                           ***************

       Pursuant to Fed. R. Civ. Pro 41(a)(1)(A)(ii), the Plaintiffs, Eric C. Conn and Conn Law,

P.S.C. (collectively “Conn”), and each Defendant, by counsel, hereby STIPULATE to the

dismissal of Defendants Crum & Forster and Protexture/Lawyers Professional Services, Ltd,

with prejudice, and the action will proceed only as to United States Fire Insurance Company.

       So Stipulated this 7th day of March, 2017.

Scott White ____________________
Scott White
Sarah R. Hays
FOGLE KELLER PURDY, PLLC
COUNSEL FOR PLAINTIFFS

CHRISTOPHER M. MUSSLER_________
CHRISTOPHER M. MUSSLER, ESQ.
GWIN STEINMETZ & BAIRD, PLLC
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AND CRUM & FORSTER

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Stites & Harbison, PLLC
Counsel for Protexture Lawyers/
Amernist Professional Services, Ltd.



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